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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

    JANE DOE 1, and JANE DOE 2,
                   Plaintiffs,
    vs.                                            Case No. 2:25-CV-10806
                                                   Hon. Mark A. Goldsmith
    MATTHEW WEISS; the REGENTS
    OF THE UNIVERSITY OF
    MICHIGAN; the UNIVERSITY OF
    MICHIGAN; KEFFER
    DEVELOPMENT SERVICES, LLC,

                       Defendants.




         PLAINTIFFS’ MOTION TO MAINTAIN PSEUDONYMS UNTIL
                   FURTHER ORDER OF THE COURT


         Plaintiffs, JANE DOE 1 and JANE DOE 2 (“Plaintiffs”), for their Motion to

Maintain Pseudonyms Until Further Order of the Court under Rule 5.2, state:

         1.    Plaintiffs Jane Doe 1 and Joe Doe 2 filed this case on Friday March 21,

2025. ECF No. 1.

         2.    Plaintiff Jane Doe 1 was a student athlete at the University of Michigan

between 2017 and 2018 and was a member of the Michigan Women’s Gymnastics

team. ECF No. 1 at paragraph 1.

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         3.   Plaintiff Jane Doe 2 was a student athlete at the University of Michigan

between 2017 and 2023 and was a member of the Michigan Women’s Soccer team.

ECF No. 1 at paragraph 3.

         4.   In this Circuit, a plaintiff may only proceed under a pseudonym by

filing a motion for a protective order. Doe v. Porter, 370 F.3d 558, 560 (6th Cir.

2004); Citizens for a Strong Ohio v. Marsh, 123 F. App’x 630, 636 (6th Cir. 2005).

         5.   “As a general matter, a complaint must state the names of all parties,”

but a court “may excuse plaintiffs from identifying themselves in certain

circumstances.” Porter, 370 F.3d at 560.

         6.   Several considerations determine whether a plaintiff’s privacy interests

substantially outweigh the presumption of open judicial proceedings. They include:

(1) whether the plaintiffs seeking anonymity are suing to challenge governmental

activity; (2) whether prosecution of the suit will compel the plaintiffs to disclose

information “of the utmost intimacy”; (3) whether the litigation compels plaintiffs

to disclose an intention to violate the law, thereby risking criminal prosecution; and

(4) whether the plaintiffs are children. Id. (quoting Doe v. Stegall, 653 F.2d 180, 185–

86 (5th Cir. 1981)).

         7.   Here, the Complaint contains allegations of invasion of privacy (ECF

No. 1, at paragraphs 38, 45, 54, 124–126, 139, 189–198, among other paragraphs

including similar allegations) and includes claims against governmental activity

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(ECF No. 1 at paragraphs 16, 19, 20–24, 28, 31, 32, 36, 37, 50, 51, 159–169, 171–

179, 181–187, 189–198, among paragraphs also including similar allegations).

         8.    The invasion of privacy allegations include assertions of access to

intimate information including images. ECF No. at paragraphs 23, 24, 25, 30, 35,

42, 43, 44, 56, among others.

         9.    The Complaint does not risk criminal prosecution of the Plaintiffs.

         10.   The Plaintiffs are also not minors.

         11.   A straightforward application of the factors and the nature of the case

overall suggests this Motion should be granted.

         12.   The first and second Porter factors are satisfied on their face. Plaintiffs’

privacy at this early stage especially is an overwhelming consideration. Admittedly,

the third factor is not met. Likewise, while the fourth factor is not met on its face,

the main import of the rule is satisfied: the Plaintiffs were young student athletes,

whose allegations include governmental misuse of information that is intimate in

nature and was entrusted in confidence to a public institution.

         13.   Plaintiffs are still vulnerable.

         14.   Particularly at this stage of the litigation, Plaintiffs should be able to

maintain their anonymity to protect against attempts by the media to contact them or

otherwise from being solicited for comment, or from distracting that the focus of this

matter should be on the merits.

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         15.   There is also risk of unnecessary additional injury to Plaintiffs if their

identities are disclosed. It is not necessary to retraumatize them.

         16.   Plaintiffs do not oppose disclosing their identity to Defendants at the

appropriate time.

         17.   Plaintiffs respect the due process rights of Defendants and intend to

cooperate with Defendants to disclose the identities at the appropriate time without

impeding Defendants’ litigation and due process rights.

         18.   On the whole, the factors weigh in favor of maintaining anonymity at

this time.

         WHEREFORE, Plaintiffs request that the Court authorize the maintenance of

this action with Plaintiffs designated as “Jane Doe 1” and “Jane Doe 2” at least until

further Order of the Court.

Date: March 24, 2025
                                         Respectfully Submitted,

                                         By: s/Parker Stinar
                                         Parker Stinar
                                         Mike Grieco (Pro Hac Vice Forthcoming)
                                         STINAR GOULD GRIECO &
                                         HENSLEY, PLLC
                                         101 N. Wacker Dr., Floor M,
                                         Suite 100
                                         Chicago, Illinois 60606
                                         T: (312) 728-7444
                                         parker@sgghlaw.com

                                         Counsel for Plaintiffs
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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

    JANE DOE 1, and JANE DOE 2,
                   Plaintiffs,
    vs.                                     Case No. 2:25-CV-10806
                                            Hon. Mark A. Goldsmith
    MATTHEW WEISS; the REGENTS
    OF THE UNIVERSITY OF
    MICHIGAN; the UNIVERSITY OF
    MICHIGAN; KEFFER
    DEVELOPMENT SERVICES, LLC,

                   Defendants.




        BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION TO MAINTAIN
         PSEUDONYMS UNTIL FURTHER ORDER OF THE COURT




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                         STATEMENT OF ISSUE PRESENTED

         I.   Should Plaintiffs’ identities remain confidential at this time?

              Plaintiffs answer: “Yes.”




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             CONTROLLING OR MOST APPROPRIATE AUTHORITIES




Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004)

Citizens for a Strong Ohio v. Marsh, 123 F. App’x 630, 636 (6th Cir. 2005).




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         Plaintiffs, JANE DOE 1 and JANE DOE 2 (“Plaintiffs”), for their Brief in

Support of their Motion to Maintain Pseudonyms Until Further Order of the Court

under Rule 5.2, rely on the facts, authorities, and analysis in the accompanying

Motion.

                                      Respectfully Submitted,

                                      By: s/Parker Stinar
                                      Parker Stinar
                                      Mike Grieco (Pro Hac Vice Forthcoming)
                                      STINAR GOULD GRIECO &
                                      HENSLEY, PLLC
                                      101 N. Wacker Dr., Floor M,
                                      Suite 100
                                      Chicago, Illinois 60606
                                      T: (312) 728-7444
                                      parker@sgghlaw.com

                                      Counsel for Plaintiffs




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